         Case 1:21-cr-00332-PLF Document 1-1 Filed 04/12/21 Page 1 of 12




                                   STATEMENT OF FACTS

       Your affiant, Jon Comottor, is a Special Agent with the Federal Bureau of Investigation
and has been since February 2012. I am currently assigned to the FBI Washington Field Office
and serve on the Violent Crimes Task Force, which investigates violent crimes and threats in the
Washington, D.C. metropolitan area. Currently, I am tasked with investigating criminal activity
in and around the Capitol grounds on January 6, 2021. As a Special Agent, I am authorized by
law or by a Government agency to engage in or supervise the prevention, detention, investigation,
or prosecution of a violation of Federal criminal laws.

        The U.S. Capitol is secured 24 hours a day by U.S. Capitol Police. Restrictions around the
U.S. Capitol include permanent and temporary security barriers and posts manned by U.S. Capitol
Police. Only authorized people with appropriate identification were allowed access inside the U.S.
Capitol. On January 6, 2021, the exterior plaza of the U.S. Capitol was also closed to members of
the public.

        On January 6, 2021, a joint session of the United States Congress convened at the United
States Capitol, which is located at First Street, SE, in Washington, D.C. During the joint session,
elected members of the United States House of Representatives and the United States Senate were
meeting in separate chambers of the United States Capitol to certify the vote count of the Electoral
College of the 2020 Presidential Election, which had taken place on November 3, 2020. The joint
session began at approximately 1:00 p.m. Shortly thereafter, by approximately 1:30 p.m., the
House and Senate adjourned to separate chambers to resolve a particular objection. Vice President
Mike Pence was present and presiding, first in the joint session, and then in the Senate chamber.

       As the proceedings continued in both the House and the Senate, and with Vice President
Mike Pence present and presiding over the Senate, a large crowd gathered outside the U.S. Capitol.
As noted above, temporary and permanent barricades were in place around the exterior of the U.S.
Capitol building, and U.S. Capitol Police were present and attempting to keep the crowd away
from the Capitol building and the proceedings underway inside.

        At such time, the certification proceedings were still underway and the exterior doors and
windows of the U.S. Capitol were locked or otherwise secured. Members of the U.S. Capitol
Police attempted to maintain order and keep the crowd from entering the Capitol; however, shortly
around 2:00 p.m., individuals in the crowd forced entry into the U.S. Capitol, including by breaking
windows and by assaulting members of the U.S. Capitol Police, as others in the crowd encouraged
and assisted those acts.

       Shortly thereafter, at approximately 2:20 p.m. members of the United States House of
Representatives and United States Senate, including the President of the Senate, Vice President
Mike Pence, were instructed to—and did—evacuate the chambers. Accordingly, the joint session
of the United States Congress was effectively suspended until shortly after 8:00 p.m. Vice
President Pence remained in the United States Capitol from the time he was evacuated from the
Senate Chamber until the sessions resumed.




                                                 1
         Case 1:21-cr-00332-PLF Document 1-1 Filed 04/12/21 Page 2 of 12




        During national news coverage of the aforementioned events, video footage which
appeared to be captured on mobile devices of persons present on the scene depicted evidence of
violations of local and federal law, including scores of individuals inside the U.S. Capitol building
without authority to be there.

       Your affiant has obtained multiple videos depicting an individual, later identified as Paul
Russell JOHNSON, assaulting a U.S. Capitol Police Officer and engaging in disruptive and
disorderly conduct on Capitol grounds.

        Video footage shows that at approximately 12:45 p.m. on January 6, 2021, as preparations
for the proceedings described above were underway in the House and the Senate, a large crowd
gathered to the west of the U.S. Capitol around the Peace Monument, located in the Pennsylvania
Avenue, NW, and 1st Street, NW, roundabout, that was commonly referred to as “Peace Circle”
by U.S. Capitol Police Officers.




 Figure 1. Aerial imagery of U.S. Capitol grounds, with the restricted perimeter outlined in red.

       The crowd then moved southeast along the sidewalk that connects Peace Circle to the U.S.
Capitol Building, commonly referred to as the “Pennsylvania Ave Walkway” by U.S. Capitol
Police Officers. Several rows of metal barricades had been erected by U.S. Capitol Police Officers
in order to keep the public away from the Capitol building and the Congressional proceedings
underway inside. The first line of barricades was erected just off the roadway of Peace Circle, and


                                                 2
          Case 1:21-cr-00332-PLF Document 1-1 Filed 04/12/21 Page 3 of 12




was intended to maintain a buffer zone between the road and the perimeter fence delineating the
restricted area of the U.S. Capitol grounds.

       At approximately 12:50 p.m., a crowd of people can be seen in open source video walking
over and around the first line of barricades. As the crowd approaches a second line of barricades
being guarded by uniformed U.S. Capitol Police officers, a male individual—later identified as
JOHNSON—can be seen holding a black megaphone and shouting profanities toward the U.S.
Capitol Police, including “Let’s go! Fuck this shit. We pay your bills, you back the fuck off.”




                                                                                                      1

            Figure 2. JOHNSON’s megaphone as he approaches uniformed U.S. Capitol Police
                   officers standing guard at a second line of metal barricades.


        The second line of barricades consisted of metal bike rack barriers, physically linked end-
to-end, and reinforced with dark-colored plastic mesh safety fencing affixed behind the metal bike
racks. The fence line was clearly marked with large white “AREA CLOSED” signs in bold red
lettering. (See Figure 3, below.)




1
 Untitled video published by Instagram user “slightlyoffensive.tv” on January 6, 2021, available at
https://www.instagram.com/p/CJugaFfnFD7/ (downloaded by FBI on March 25, 2021).

                                                         3
          Case 1:21-cr-00332-PLF Document 1-1 Filed 04/12/21 Page 4 of 12




                                                                                        2

                                            Figure 3.

       Upon approaching the second line of barricades, JOHNSON immediately became
confrontational with the U.S. Capitol Police Officers guarding the barricade. JOHNSON can be
heard saying through a megaphone, “It’s our house. We pay your bills. We pay for this . . . that’s
some bullshit.” (Figures 4 and 5.)




                                                                                    3



            Figure 4. JOHNSON confronting uniformed U.S. Capitol Police Officers.




2
    Id.
3
    Id.

                                                4
              Case 1:21-cr-00332-PLF Document 1-1 Filed 04/12/21 Page 5 of 12




                                                                                   4



          Figure 5. JOHNSON using a megaphone while confronting U.S. Capitol Police Officers.

       As others in the crowd begin pushing and pulling on the barricades, JOHNSON turns
around, says “Hold my backpack,” and proceeds to pass his backpack and megaphone to an
unknown individual off camera, as if to prepare for a physical altercation. When JOHNSON turns
around, he can be seen wearing a black flat billed hat with a white diamond-shaped logo.




                                                                                       5



              Figure 6. JOHNSON asking an unknown individual in the crowd to hold his backpack.

       When JOHNSON re-enters the camera’s view, he is not wearing the backpack visible in
Figures 4 and 6, nor is he carrying the megaphone visible in Figures 2 and 5. Upon re-joining the
crowd, JOHNSON begins forcibly pushing and pulling the barricades. (See Figures 7 and 8,
below.)



4
    Id.
5
    Id.

                                                  5
          Case 1:21-cr-00332-PLF Document 1-1 Filed 04/12/21 Page 6 of 12




                                                                                      6



                    Figure 7. JOHNSON pushing and pulling on barricades.

        As JOHNSON continues lifting and pushing the metal barricades, JOHNSON and others
knock over a U.S. Capitol Police Officer (hereinafter “O-1”), causing O-1’s head to hit the stairs
behind her, resulting in a loss of consciousness. (See Figures 8 and 9, below.) Hours later, while
arresting a rioter, O-1 blacked out and collapsed in the booking area and had to be transported to
the emergency room at a local hospital, where she was assessed to have suffered a concussion.




                                                                           O-1
                                                                       (Off camera)




                                                                                      7

                 Figure 8. JOHNSON forcibly pushing the metal barricade into
                            uniformed U.S. Capitol Police officers.




6
    Id.
7
    Id.

                                                6
              Case 1:21-cr-00332-PLF Document 1-1 Filed 04/12/21 Page 7 of 12




                                                                                     8



                         Figure 9. Officer O-1 on stairs after being knocked down.

       After dismantling and knocking over the line of metal barricades, JOHNSON can be seen
running up the steps and further onto the restricted grounds, in the direction of the U.S. Capitol
building. (Figure 10.)




                                                                                                  9



          Figure 10. JOHNSON advancing past the barricaded police line toward the U.S. Capitol.

       Later that evening, on January 6, 2021, a YouTube user posted a livestream video showing
JOHNSON recounting the events that took place outside the Capitol earlier in the day. JOHNSON
can be seen wearing a black flat billed hat with a white diamond-shaped logo, resembling the hat
depicted in Figure 6 above.

8
    Id.
9
    Id.

                                                    7
         Case 1:21-cr-00332-PLF Document 1-1 Filed 04/12/21 Page 8 of 12




                                                                                                         10




                      Figure 11. JOHNSON describing the events of January 6, 2021.

        Your affiant has reviewed this video and has determined that JOHNSON made the
following statements while speaking to another individual outside the Hilton Garden Inn Hotel at
815 14th Street NW, Washington D.C. 20005. JOHNSON’s statements begin at approximately
time stamp 1:37:35 of the YouTube video, and end at approximately time stamp 1:38:46.

                JOHNSON: Yeah, we’re like we’re going, we’re going to the
                fucking Capitol. So we get to the Capitol and when we get to the
                street, you know where that uh statue is? At the street? Where the
                circle roundabout is? Way the fuck away from the Capitol. They
                had gates at that end, alright?

                Me and this other guy Collins, he’s in here with us. And I didn’t
                know that he was . . . we didn’t know each other for shit. I looked.
                I’m sitting at the gate and I’ve got my hands on him and there’s
                cops. You know there’s five cops standing up the way a little bit.
                Beyond them is a lot of cops. So me and him look at each other, we
                already knew what time it was . . . we started pulling the gates apart.
                And we started bum rushing. Cops start hightailing to the fucking
                Capitol, right?



10
  “Police Encircle Trump Supporters at Their Hotels,” streamed live by YouTube user “Millennial Millie” on
January 6, 2021, available at https://www.youtube.com/watch?v=ObVMGPGHRe8 (downloaded by FBI on March
25, 2021).

                                                     8
           Case 1:21-cr-00332-PLF Document 1-1 Filed 04/12/21 Page 9 of 12




                  We get to the next gate. There’s three sets of gates before you get
                  to the stairs of the Capitol. Alright? We get to the next gate. There’s
                  probably . . . there’s a shit load of cops up there then. Second wing,
                  we breached, pulled up, start throwing shit. I mean we’re fu-, we’re
                  we’re fighting cops and shit. I have video where I’m slinging one
                  around . . . .

                  So we get to the third gate, they’re all hightailing to the top of the
                  Capitol. We get up on the steps. It’s bolted down to the ground, the
                  gate was. A black gate. So we grab it, we start doing this number
                  here. The next thing you know it’s bear mace, the whole front row,
                  dude. 11

        Throughout the YouTube video, a woman wearing a black Harley Davidson hooded
sweatshirt can be seen standing near JOHNSON and can be heard interjecting as JOHNSON
describes how he personally broke through metal barricades set up outside the Capitol building.
(See Figure 12, below.) The black Harley Davidson sweatshirt that the woman is wearing appears
to be the same sweatshirt that JOHNSON is seen wearing in Figures 7, 8, and 10, above.




                   Figure 12. Woman wearing black Harley Davidson jacket
                                standing next to JOHNSON.




        11
           This transcript is a summary and is not intended to be a verbatim account of JOHNSON’s words. A Twitter
user, @SeditionHunters, has also attempted to transcribe JOHNSON’s statements. See Untitled video published by
Twitter      user        @SeditionHunters,          available       at      https://twitter.com/SeditionHunters/status/
1359900083458887685 (downloaded by FBI on March 25, 2021).


                                                          9
         Case 1:21-cr-00332-PLF Document 1-1 Filed 04/12/21 Page 10 of 12




                                     Identification of JOHNSON

       On January 11, 2021, the FBI published a “Be On The Lookout” (BOLO) flyer with the
following image:




                                                                    12



                                               Figure 13.

        On January 11, 2021, the FBI received a tip from a witness (W-1) who recognized the
man depicted in Figure 13 as JOHNSON. W-1 has been friends with JOHNSON’s girlfriend for
approximately 15 years and recalls meeting JOHNSON in person once or twice approximately
ten years ago. W-1 has seen multiple pictures of JOHNSON on JOHNSON’s girlfriend’s
Facebook page, including the photo depicted in Figure 14 below, which W-1 sent to the FBI. In
this photo, JOHNSON can be seen wearing the same black flat billed hat with a white diamond-
shaped logo as seen in the open source footage from outside the U.S. Capitol.




                                               Figure 14.

       On January 20, 2021, another witness (W-2) provided a tip to the FBI that JOHNSON
was inside the U.S. Capitol building during the riots. W-2 reported receiving a text message
from JOHNSON on January 6, 2021 stating, “We got in the Capitol.” On March 19, 2021, the
FBI sent W-2 the following photo of a man believed to be JOHNSON obtained from Twitter user

12
  On January 20, 2021, FBI updated the original BOLO poster with a new photo of JOHNSON. W-1 recognized
JOHNSON from the original BOLO poster depicted in Figure 13.

                                                   10
        Case 1:21-cr-00332-PLF Document 1-1 Filed 04/12/21 Page 11 of 12




@SeditionHunters. (See Figure 15, below.) W-2 has previously done business with JOHNSON
and last saw JOHNSON in person in February 2021. W-2 stated that he was nearly 100% sure
that the individual depicted in Figure 15 is JOHNSON.




                                             Figure 15.

         Based on the foregoing, your affiant submits there is probable cause to believe that
JOHNSON violated 18 U.S.C. § 111(a)(1) and (b), which makes it a crime to forcibly assault,
resist, oppose, impede, intimidate, or interfere with any person designated in 18 U.S.C. § 1114 as
an officer or employee of the United States while engaged in or on account of the performance of
official duties. Persons designated within section 1114 include any person assisting an officer or
employee of the United States in the performance of their official duties. Subdivision (b)
provides for enhanced penalties when bodily injury is inflicted.

        Your affiant submits there is also probable cause to believe that JOHNSON violated 18
U.S.C. 231(a)(3), which makes it unlawful to commit or attempt to commit any act to obstruct,
impede, or interfere with any fireman or law enforcement officer lawfully engaged in the lawful
performance of his official duties incident to and during the commission of a civil disorder which
in any way or degree obstructs, delays, or adversely affects commerce or the movement of any
article or commodity in commerce or the conduct or performance of any federally protected
function. For purposes of Section 231 of Title 18, a federally protected function means any
function, operation, or action carried out, under the laws of the United States, by any department,
agency, or instrumentality of the United States or by an officer or employee thereof. This includes
the Joint Session of Congress where the Senate and House count Electoral College votes.

       Your affiant submits there is also probable cause to believe that JOHNSON violated 18
U.S.C. §§ 1512(c)(2) and 2, which makes it a crime to obstruct, influence, or impede any official
proceeding, or attempt to do so. Under 18 U.S.C. § 1515, congressional proceedings are official
proceedings.

        Your affiant submits there is also probable cause to believe that JOHNSON violated 18
U.S.C. § 1752(a)(4), which makes it a crime to knowingly engage in any act of physical violence
against any person or property in any restricted building or grounds, or attempt or conspire to do
so. For purposes of Section 1752 of Title 18, a “restricted building” includes a posted, cordoned
off, or otherwise restricted area of a building or grounds where the President or other person
protected by the Secret Service, including the Vice President, is or will be temporarily visiting; or



                                                 11
        Case 1:21-cr-00332-PLF Document 1-1 Filed 04/12/21 Page 12 of 12




any building or grounds so restricted in conjunction with an event designated as a special event of
national significance.

        Finally, your affiant submits there is also probable cause to believe that JOHNSON
violated 40 U.S.C. § 5104(e)(2)(F), which makes it a crime to willfully and knowingly engage in
an act of physical violence in the Grounds or any of the Capitol Buildings.



                                                     _________________________________
                                                     Jon Comottor
                                                     Special Agent
                                                     Federal Bureau of Investigation

Attested to by the applicant in accordance with the requirements of Fed. R. Crim. P. 4.1 by
telephone, this 12th day of April, 2021.
                                                                       2021.04.12
                                                                       13:55:58 -04'00'
                                                     ___________________________________
                                                     ROBIN M. MERIWEATHER
                                                     U.S. MAGISTRATE JUDGE




                                                12
